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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

YESENIA AYUB,                             *
                                          *
      Plaintiff/Counter-Defendant,        *
                                          *
v.                                        *     Case No.: 17-cv-02132-APM
                                          *
LORI A. PICCO, et al.                     *
                                          *
      Defendants/Counter-Plaintiffs.      *
******************************************************************************
           PLAINTIFF’S MEMORANDUM IN SUPPORT OF PLAINTIFF’S
              MOTION TO DISMISS DEFENDANTS’ COUNTERCLAIMS

       Plaintiff, Yesenia Ayub (“Plaintiff”), by and through undersigned counsel, hereby

submits this Memorandum in support of her Motion to Dismiss Defendants‟ Counterclaims. As

set forth below, Defendants do not allege counterclaims upon which this Court may or should

grant supplemental jurisdiction. Nor does this Court have an independent basis of jurisdiction

over those claims. Thus, as articulated in greater detail below, Defendants‟ counterclaims should

be dismissed pursuant to Federal Rule 12(b)(1).

                                      INTRODUCTION

       Plaintiff was employed by Defendants Lori A. Picco and Andrew J. Walker

(“Defendants”) as a nanny from roughly January 1, 2012, until August 11, 2017. For the final

three years of her employment, Plaintiff typically and customarily worked more than 40 hours

per week. During those three years, Defendants paid Plaintiff a salary of roughly $845.00 per

week regardless of the number of hours she worked, thereby depriving her of overtime pay to

which she was entitled.

       On October 16, 2017, Plaintiff filed this action against Defendants to recover unpaid

overtime wages under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”) and the
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D.C. Minimum Wage Act Revision Act of 1992, D.C. Code §§ 32-1001 et seq. (“DCMWA”).

On December 18, 2017, Defendants filed their Answer and Counterclaims.

            Rather than defend this matter on the merits, Defendants have opted for a scorched earth

defense, concocting counterclaims against Plaintiff for conversion (Count I), negligence (Count

II), breach of contract (Count III), unjust enrichment (Count IV), and unjust enrichment/money

had and received (Count V). Each of those counts is wholly without merit and brought only to

frighten Plaintiff or otherwise intimidate and retaliate against her for asserting her protected

rights under the FLSA and the DCMWA.1

            Defendants‟ counterclaims arise under District of Columbia law and are not claims upon

which this Court may or should grant supplemental jurisdiction.                                  For this Court to assert

supplemental jurisdiction, Defendants‟ counterclaims must derive from a common nucleus of

operative fact with the federal claims over which it has original jurisdiction. They do not.

Furthermore, even if the Court were to conclude that is has supplemental jurisdiction over some

or all of Defendants‟ counterclaims, it should decline to exercise it, as doing so would allow

those claims to predominate the litigation, and counterclaims are generally disfavored in FLSA

cases. Finally, there is no independent basis of jurisdiction over Defendants‟ counterclaims.

Therefore, as described in more detail below, this Court must dismiss Defendants‟

counterclaims.

                                              STANDARD OF REVIEW

            On a motion to dismiss a counterclaim for lack of subject-matter jurisdiction under Rule

12(b)(1) of the Federal Rules of Civil Procedure, the defendant/counter-plaintiff bears the burden

of establishing jurisdiction by a preponderance of the evidence. Wisey’s #1 LLC v. Nimellis

Pizzeria LLC, 952 F. Supp. 2d 184, 188 (D.D.C. 2013) (citing U.S. Ecology, Inc. v. U.S. Dep’t of
1
    For this retaliation, Plaintiff will amend her pleading to include relief for retaliation.

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Interior, 231 F.3d 20, 24 (D.C. Cir. 2000)). Federal courts are courts of limited subject-matter

jurisdiction, possessing only the powers authorized by the Constitution and by statute. Kokkonen

v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, 114 S. Ct. 1673 (1994). When a court

lacks subject-matter jurisdiction, it must dismiss the case. Fed. R. Civ. P. 12(h)(3); Arbaugh v. Y

& H Corp., 546 U.S. 500, 514 (2006). “[B]ecause subject matter jurisdiction focuses on the

Court‟s authority to hear the party‟s claims, a Rule 12(b)(1) motion „imposes on the court an

affirmative obligation to ensure that it is acting within the scope of its jurisdictional authority.‟”

Wisey’s, 952 F. Supp. 2d at 188 (quoting Grand Lodge of Fraternal Order of Police v. Ashcroft,

185 F. Supp. 2d 9, 13 (D.D.C. 2001)).

                                           ARGUMENT

   I.      THE COURT LACKS SUPPLEMENTAL JURISDICTION OVER
           DEFENDANTS’ COUNTERCLAIMS.

        Defendants‟ counterclaims arise under District of Columbia law. In order for this Court

to assert supplemental jurisdiction over those claims, they must “„derive from a common nucleus

of operative fact‟ with the federal claims over which there is original jurisdiction.” Wisey’s, 952

F. Supp. 2d at 189 (quoting Women Prisoners of the D.C. Dep’t of Corrections v. District of

Columbia, 93 F.3d 910, 920 (D.C. Cir. 1996)). “State law claims do not derive from a common

nucleus of operative fact when there is almost no factual or legal overlap between the state and

federal claims.” Id. (quoting Chelsea Condo. Unit Owners Ass’n v. 1815 A St., Condo. Grp.,

LLC, 468 F. Supp. 2d 136, 141 (D.D.C. 2007) (internal quotations omitted)).

        Plaintiff‟s only claims in this case are for unpaid wages under the FLSA and the

DCMWA. Defendants‟ counterclaims are wholly unrelated to unpaid wages and share no legal

overlap and only minimal, background factual overlap with Plaintiff‟s wage claims. Plaintiff

will address Defendants‟ counterclaims in turn.

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       First, in their counterclaim for conversion, Defendants allege that, in late 2014, Plaintiff

“stole a check from [Defendant] Picco‟s checkbook and without authorization from

[Defendants‟] Picco or Walker wrote herself a check in the amount of Four Thousand Dollars

($4,000.00).” Defendants‟ allegation of outright theft is wholly unrelated to Plaintiff‟s hours

worked, pay received, or any other issue relating to unpaid wages. See, e.g., Molnoski v.

Batmasian, 246 F. Supp. 3d 1336, 1338-39 (S.D. Fla. 2017) (counterclaim alleging conversion of

employer‟s property during employment did not give rise to supplemental jurisdiction in FLSA

action for unpaid overtime).

       Similarly, Defendants‟ counterclaim for vehicular negligence shares no legal or factual

overlap with Plaintiff‟s wage claims.       Defendants‟ negligence claim will revolve around

Defendants‟ ability to prove the elements of common law negligence – duty, breach, causation,

and damages. It shares no overlap with the discrete legal and factual questions raised by

Plaintiff‟s wage claims – hours worked, pay received, and whether any failure to pay wages

owed was in good faith or the result of a bona fide dispute.

       In Counts III-V of Defendants‟ Counterclaims, Defendants allege that Plaintiff borrowed,

and failed to repay, approximately $7,000.00 from Defendants during the course of her

employment with them. Defendants‟ counterclaims for an alleged unpaid loan do not derive

from the same operative facts as Plaintiff‟s claims for unpaid wages, and the Court therefore

lacks supplemental jurisdiction over those counterclaims. See, e.g., Cruz v. Don Pancho Mkt.,

LLC, 167 F. Supp. 3d 902, 907 (W.D. Mich. 2016) (no supplemental jurisdiction over

counterclaim to recover alleged loan to employee in FLSA case); Denoncour v. Barrett’s of S.W.

Fla., Inc., 2016 U.S. Dist. LEXIS 152540 at *1-2 (M.D. Fla. 2016) (court lacked supplemental

jurisdiction over state law counterclaim for alleged unpaid loan to employee in FLSA action).



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         Furthermore, the mere existence of an employment relationship “does not establish a

common nucleus of operative fact where it is the sole fact connecting [the plaintiff‟s] federal

overtime claims and [the defendant‟s] state law counterclaims.” Torres v. Gristede’s Operating

Corp., 628 F. Supp. 2d 447, 468 (S.D.N.Y. 2008); see also Williams v. Long, 558 F. Supp. 2d

601, 606 (D. Md. 2008) (noting that “numerous federal courts” have refused to exercise

supplemental jurisdiction in FLSA cases when an employer-employee relationship is the sole

common fact with the state law counterclaims).

         In sum, Defendants‟ state law counterclaims do not arise from a common nucleus of

operative facts with Plaintiff‟s FLSA claim.         At best, Defendants‟ counterclaims share

background facts with Plaintiff‟s wage claims, most notably the fact that they involve litigants

who were previously parties to an employment relationship. However, state law claims that

share only “background facts” and “do not share any operative facts are insufficient for

supplemental jurisdiction.” Wisey’s, 952 F. Supp. 2d at 13-14 (quoting Chelsea, 468 F. Supp.

2d at 138-39.)

   II.        EVEN IF THE COURT CONCLUDES THAT IT HAS SUPPLEMENTAL
              JURISDICTION, IT SHOULD DECLINE TO EXERCISE IT, BECAUSE
              COUNTERCLAIMS ARE DISFAVORED IN FLSA CASES AND
              DEFENDANTS’ COUNTERCLAIMS WOULD PREDOMINATE THE
              LITIGATION.

         Supplemental jurisdiction “is a doctrine of discretion, not of plaintiff‟s right.” Women

Prisoners of the D.C. Dep’t of Corrections v. District of Columbia, 93 F.3d 910, 920 (D.C. Cir.

1996) (quoting United Mine Workers of America v. Gibbs, 383 U.S. 715, 726, 86 S. Ct. 1130

(1966). Thus, even if the Court concludes that it has the power to hear the Defendants‟ state law

claims, it must then decide whether to exercise its discretion to assert jurisdiction over those

claims. Id.



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         This Court has observed that “[g]enerally speaking, courts have been hesitant to permit

an employer to file counterclaims in FLSA suits for money the employer claims the employee

owes it, or for damages the employee‟s tortuous conduct allegedly caused.” Slaughter v. Alpha

Drugs, LLC, 907 F. Supp. 2d 50, 53-54 (D.D.C 2012) (declining to exercise supplemental

jurisdiction over counterclaims in FLSA case).2 “The only economic feud contemplated by the

FLSA involves the employer‟s obedience to minimum wage and overtime standards. To clutter

these proceedings with the minutiae of other employer-employee relationships would be

antithetical to the purpose of the Act.” Brennan v. Heard, 491 F.2d 1, 6-7 (5th Cir. 1974).

         In the case at bar, Defendants ask this Court to assume jurisdiction over a slew of

grievances arising under state law that share no legal or factual overlap with Plaintiff‟s FLSA

claim other than the fact that they involve litigants who were previously parties to an

employment relationship. Allowing Defendants to proceed on their claims would be antithetical

to the purposes of the FLSA. See Brennan, 491 F.2d at 6 (“The federal courts were not

designated by the FLSA to be either collection agents or arbitrators for an employee‟s creditors.).

         Furthermore, if Defendants were allowed to proceed on their counterclaims, those claims

would predominate over the discrete issues raised by Plaintiff‟s wage claims. Defendants‟

counterclaims outnumber Plaintiff‟s claims and raise numerous issues of state law – including

issues of tort, property, and contract law - that are not pertinent to Plaintiff‟s wage claims. Thus,

even if the Court concludes that it has supplemental jurisdiction over some or all of Defendants‟


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  Numerous other federal courts have observed that counterclaims by employers are disfavored in FLSA cases. See
Ramirez v. Amazing Home Contrs., Inc., 2014 U.S. Dist. Lexis 164739 (D. Md. 2014) (“To permit [the employer] in
such a proceeding to try [its] private claims, real or imagined, against [its] employees would delay and even subvert
the whole process.”); Sneed v. Wireless PCS Ohio #1, LLC, 2017 U.S. Dist. Lexis 31279 (N.D. Oh. 2017)
(“[U]nrelated counterclaims in FLSA litigation should be disfavored because they could be viewed as retaliation for
an employee bringing and FLSA claim against the employer.”); Morrisroe v. Goldsboro Milling Co., 884 F. Supp.
192 (E.D.N.C. 1994) (“If an employer is permitted to collect on a debt owed the employer by its employees via a
separate action or counterclaim to an action under the FLSA, the purpose of the Act is undermined.”).


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counterclaims, it should exercise the discretion conferred on it by 28 U.S.C. § 1367 to decline to

hear those claims.

   III.      THE COURT LACKS AN INDEPENDENT JURSIDITIONAL BASIS TO
             HEAR DEFENDANTS’ COUNTERCLAIMS.

          Absent supplemental jurisdiction, this Court lacks an independent jurisdictional basis to

hear Defendants‟ counterclaims. Each of Defendants‟ counterclaims is brought under District of

Columbia common law. Thus, Defendants‟ counterclaims do not present a federal question

under 28 U.S.C. § 1331. Nor is there diversity jurisdiction under 28 U.S.C. § 1332. The

diversity statute provides for jurisdiction over civil actions between citizens of different states

where the amount in controversy, exclusive of interest and costs, exceeds $75,000. 28 U.S.C. §

1332. While the parties to the instant case are citizens of different states – Maryland and the

District of Columbia – the amount in controversy does not exceed $75,000.                 In their

counterclaims, Defendants seek compensatory damages totaling $12,000, as well as an unstated

amount in punitive damages pursuant to their counterclaim for conversion. The Court is required

to consider punitive damages in determining whether the jurisdictional amount has been met.

Hunter v. District of Columbia, 384 F. Supp. 2d 257, 261 (D.D.C. 2005). However, in order for

the total amount in controversy to exceed $75,000 in the instant case, Defendants would have to

be awarded more than $63,000 in punitive damages ($75,000 - $12,000). Such an award would

be more than 15 times the compensatory damages of $4,000 alleged in Defendants‟ conversion

claim and unconstitutionally excessive. See id. at 262-63 (amount in controversy requirement

not met because punitive damages award of more than 13 times the alleged compensatory

damages would be unconstitutionally excessive).          Thus, the diversity statute‟s amount in

controversy requirement is not met in this case, and the Court lacks an independent jurisdictional

basis to hear Defendants‟ counterclaims.

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                                      CONCLUSION

      Defendants‟ counterclaims arise under District of Columbia law and are not claims upon

which this Court may or should grant supplemental jurisdiction. Nor does this Court have an

independent jurisdictional basis to hear those counterclaims. For these reasons, the Court

should grant Plaintiff‟s Motion and dismiss Defendants‟ counterclaims.


                                                     Respectfully submitted,


                                                      ____________/s/__________________
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